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 1    DANIEL G. SWANSON, SBN 116556                  MARK A. PERRY, SBN 212532
        dswanson@gibsondunn.com                         mark.perry@weil.com
 2    GIBSON, DUNN & CRUTCHER LLP                    JOSHUA M. WESNESKI (D.C. Bar No.
      333 South Grand Avenue                         1500231; pro hac vice)
 3    Los Angeles, CA 90071                             joshua.wesneski@weil.com
      Telephone: 213.229.7000                        WEIL, GOTSHAL & MANGES LLP
 4    Facsimile: 213.229.7520                        2001 M Street NW, Suite 600
                                                     Washington, DC 20036
 5    CYNTHIA E. RICHMAN (D.C. Bar No.               Telephone: 202.682.7000
      492089; pro hac vice)                          Facsimile: 202.857.0940
 6      crichman@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP                    MORGAN D. MACBRIDE, SBN 301248
 7    1050 Connecticut Avenue, N.W.                     morgan.macbride@weil.com
      Washington, DC 20036                           WEIL, GOTSHAL & MANGES LLP
 8    Telephone: 202.955.8500                        Redwood Shores Pkwy, 4th Floor
      Facsimile: 202.467.0539                        Redwood Shores, CA 94065
 9                                                   Telephone: 650.802.3044
      JULIAN W. KLEINBRODT, SBN 302085               Facsimile: 650.802.3100
10        jkleinbrodt@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
11    One Embarcadero Center, Suite 2600
      San Francisco, CA 94111
12    Telephone: 415.393.8200
      Facsimile: 415.393.8306
13

14

15

16    Attorneys for Defendant APPLE INC.

17                                 UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              APPLE INC.’S ADMINISTRATIVE
22    v.                                             MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
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 1          Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

 2   respectfully moves the Court to seal portions of the privilege log entries submitted as an exhibit to

 3   Apple’s Objections to Special Master Rulings on Apple’s First Production of Re-Reviewed Privileged

 4   Documents (“Objections”), which was filed under section 4 of the Joint Stipulation and Order Approving

 5   Privilege Re-Review Protocol (Dkt. 1092) (the “Protocol”). The exhibit contains information sealable

 6   under controlling law and Local Rule 79-5. Specifically, the exhibit contains excerpts from Apple’s

 7   privilege log prepared for the Special Masters conducting evaluation of the privilege claims stemming

 8   from Apple’s re-review. The privilege log is required to be filed under the terms of the Protocol, but

 9   contains competitively sensitive, non-public information regarding Apple’s selection and engagement

10   of consultants in connection with preparing its submissions to a foreign regulatory body in response to

11   an investigation. It also contains personally identifiable information in the form of email addresses of

12   non-Apple employees. Apple’s proposed redactions of that information are highlighted in yellow in the

13   un-redacted version of the exhibit that Apple is filing under seal and are itemized in the concurrently

14   filed Declaration of Mark A. Perry (the “Perry Declaration”).

15                                            LEGAL STANDARD

16          “The court may, for good cause, issue an order to protect a party or person from annoyance,

17   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

18   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

19   for many types of information, including, but not limited to, trade secrets or other confidential research,

20   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th

21   Cir. 2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172,

22   1178 (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing

23   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216,

24   at *1 (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the

25   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)

26   (granting request to seal “internal product codenames” and noting that a prior request for the same had

27   also been granted). Courts often find good cause exists to seal personally identifiable information,

28   particularly of a third party. See, e.g., Snapkeys, Ltd. v. Google LLC, No. 19-CV-02658-LHK, 2021 WL


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 1   1951250, at *3 (N.D. Cal. May 14, 2021) (granting motion to file under seal personally identifiable

 2   information, including email addresses and telephone numbers of former employees); see also Am.

 3   Automobile Assoc. of N. Cal., Nev., & Utah v. Gen. Motors LLC, Case No. 17-CV-03874-LHK, 2019

 4   WL 1206748, at *2 (N.D. Cal. Mar. 14, 2019) (finding compelling reasons existed to seal third parties'

 5   names, addresses, phone numbers, and email addresses).

 6          Although a party must show compelling circumstances to seal information appended to

 7   dispositive motions, the standard for non-dispositive motions is “good cause.” In re Anthem, Inc. Data

 8   Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

 9   Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

10   Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

11   should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

12   Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

13   Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

14   seal “because the request is narrowly tailored and only includes confidential information”).

15                                                DISCUSSION

16          Apple seeks to seal sensitive business information regarding its selection and engagement of

17   consultants in connection with evaluating its submissions to a foreign regulatory body as part of an

18   investigation, as well as the associated personally identifiable information. See Perry Decl. ¶ 5.

19   Specifically, the privilege log submitted as an exhibit to Apple’s Objections contains information in the

20   to/from portion of the log entry that Apple has not made public, including which firms Apple engaged

21   in connection with this work and who at the firms assisted in the matters, including their email addresses.

22          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns

23   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public

24   has less of a need for access to court records attached only to non-dispositive motions because those

25   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.

26   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning

27   discovery generally are considered nondispositive of the litigation”) (quotation omitted); see also In re

28   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018 WL


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 1   1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).

 2          Apple easily meets the good cause standard here. Lamartina v. VMware, Inc., 2024 WL

 3   3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple’s

 4   limited proposed redactions protect against the harmful disclosure of Apple’s internal business decision-

 5   making, including non-public legal strategy in connection with regulatory investigations.       See DNA

 6   Genotek Inc., 2023 WL 4335734, at *2 (finding good cause where disclosure would “undercut” a party’s

 7   “position … in the marketplace”); Apple Inc., 2024 WL 1204115, at *1. Apple operates in an intensely

 8   competitive environment, and thus has taken extensive measures to protect the confidentiality of its

 9   information. See Perry Decl. ¶ 3. Disclosure of the sealed information could harm Apple’s business

10   interests. Id. ¶ 4. Furthermore, Courts in this district have found not only good cause, but compelling

11   reasons exist to seal personally identifiable information. See Snapkeys, 2021 WL 1951250, at *3

12   (granting motion to file under seal personally identifiable information, including email addresses and

13   telephone numbers of former employees); see also Am. Automobile Assoc. of N. Cal., Nev., & Utah,

14   2019 WL 1206748, at *2 (finding compelling reasons existed to seal third parties' names, addresses,

15   phone numbers, and email addresses). Here, the email addresses in the privilege log not only reveal

16   Apple’s choice and strategy in selecting consultants, but it also reveals those third-party consultants’

17   personal identifiable information. Good cause exists to protect that information on both fronts.

18          Moreover, Apple has narrowly tailored its sealing request to include only the information

19   necessary to protect Apple’s confidential business information and data.           See Perry Decl. ¶ 6;

20   Krommenhock v. Post Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020) (granting motion

21   to seal “limited” information); see also Phillips, 307 F.3d at 1211; Williams v. Apple Inc., 2021 WL

22   2476916, at *2–*3 (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests with “tailored

23   redactions” and finding “most of Apple’s sealing requests[ ] appropriate” to the extent the disclosures

24   “would harm Apple’s competitive standing”); Dkt. No. 643 at 3 (finding Apple’s proposed redactions

25   appropriate for an exhibit when redactions were “narrowly tailored” to “sensitive and confidential

26   information, the disclosure of which would result in competitive harm to Apple”). Apple has only

27   partially redacted limited information within the privilege log entries. See Perry Decl. ¶ 6.

28          For the foregoing reasons, there is good cause that warrants partially sealing the exhibit to


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 1   Apple’s Objections.

 2                                             CONCLUSION

 3          Apple respectfully requests that the Court seal the information identified in the accompanying

 4   declaration.

 5   Dated: January 10, 2025                              Respectfully submitted,

 6                                                        By: s Mark A. Perry
                                                          Mark A. Perry
 7                                                        WEIL, GOTSHAL & MANGES LLP

 8                                                        Attorney for Apple Inc.

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